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 1                                            THE HONORABLE JAMES L. ROBART
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 6
                            UNITED STATES DISTRICT COURT
 7                         WESTERN DISTRICT OF WASHINGTON
                                     AT SEATTLE
 8

 9   UNITED STATES OF AMERICA,                )
                                              )
10                       Plaintiff,           )
                                              )
11                v.                          )       NO. CR05-216JLR
                                              )
12                                            )       ORDER CONTINUING
     RONALD ROWE, JR.,                        )       THE PRETRIAL MOTIONS
13   MARQUIS LAMONT SMITH, and                )       DEADLINE AND TRIAL
     JASSICA MARIE PITTS,                     )
14                                            )
                         Defendants.          )
15                                                )
16

17                                           ORDER
18         The Court having reviewed the records and files herein and considered the
19   stipulation of the government and counsel for defendants Ronald Rowe, Jr., Marquis
20   Lamont Smith and Jassica Marie Pitts makes the following findings and enters the
21   following order:
22         1.     On May 26, 2005, defendants Ronald Rowe, Jr., Marquis Lamont Smith,
23   and Jassica Pitts were indicted for Kidnapping and Transporting a Minor with Intent to
24   Engage in Sexual Activity. On June 24, 2005, Defendant Pitts was arraigned. On June
25   28, 2005, Defendant Rowe was arraigned. On June 29, 2005, Defendant Smith was
26   arraigned.
27

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     ORDER CONTINUING TRIAL
     ROWE, et al— 1                                                           UNITED STATES ATTORNEY
     CR05-216JLR                                                               700 Stewart Street, Suite 5220
                                                                              Seattle, Washington 98101-1271
                                                                                       (206) 553-7970
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 1          2.     Defendants and the government conducted a discovery conference on
 2   August 5, 2005. Because of the complex issues in this case, the parties have not yet had
 3   an opportunity to complete plea negotiations. Moreover, there is currently a deposition
 4   of the juvenile material witness scheduled for August 22, 2005. There is also pending a
 5   motion to strike that deposition. Unless there is a pretrial settlement, the parties will
 6   require additional time to fully prepare for trial
 7          3.     Absent a pretrial settlement, the parties require additional time to fully
 8   prepare for trial. The ends of justice outweigh the best interest of the public and the
 9   defendant in a speedy trial. That failure to grant a continuance based upon the parties’
10   need to prepare the matter for trial, in the event settlement negotiations fail, would result
11   in a miscarriage of justice.
12          4.   The government and defendant have requested and stipulated to a
13   continuance and defendants must sign and file a written waiver of speedy trial which will
14   be filed with the Court no later than August 17, 2005.
15          IT IS HEREBY ORDERED that the pretrial motions cutoff date is continued from
16   July 21, 2005 to November 8, 2005.
17          IT IS HEREBY ORDERED that trial date for defendants is continued from
18   August 17, 2005 to November 29, 2005.
19   ///
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     ORDER CONTINUING TRIAL
     ROWE, et al— 2                                                                UNITED STATES ATTORNEY
     CR05-216JLR                                                                    700 Stewart Street, Suite 5220
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                                                                                            (206) 553-7970
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 2          IT IS FURTHER ORDERED that pursuant to Title 18, United States Code,
 3   Section 3161(h), the period of time from the current trial date to the new trial date is
 4   excluded in the computation of time under the Speedy Trial Act as this is a reasonable
 5   period of delay.
 6
            DONE this 12th day of August, 2005.
 7

 8
                                                       s/James L. Robart
 9
                                                       JAMES L. ROBART
10                                                     United States District Judge
11
     Presented by:
12

13
     /s Patricia C. Lally
14   PATRICIA C. LALLY
     Assistant United States Attorney
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16
      s/
17   JILL OTAKE
     Assistant United States Attorney
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     ORDER CONTINUING TRIAL
     ROWE, et al— 3                                                               UNITED STATES ATTORNEY
     CR05-216JLR                                                                   700 Stewart Street, Suite 5220
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